                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

DANTE BROWN,                                    )
                                                )
              Petitioner,                       )
                                                )
v.                                              )      Nos.:    3:05-CR-2-TAV-HBG-2
                                                )               3:16-CV-228-TAV
UNITED STATES OF AMERICA,                       )
                                                )
              Respondent.                       )


                                MEMORANDUM OPINION

       Before the Court now is Petitioner’s pro se motion to vacate, set aside, or correct his

sentence pursuant to 28 U.S.C. § 2255 [Doc. 47]. He bases his request for relief on Johnson v.

United States, 135 S. Ct. 2551 (2015), in which the Supreme Court held that the residual clause

of the Armed Career Criminal Act (“ACCA”) was unconstitutionally vague [Id.]. The United

States responded in opposition [Doc. 52]; Petitioner replied in turn [Doc. 55]. For the following

reasons, the petition [Doc. 47] will be DENIED and DISMISSED WITH PREJUDICE.

I.     BACKGROUND

       In 2005, Petitioner pled guilty to, and was subsequently convicted of, two counts of

brandishing a firearm during and in relation to a crime of violence, in violation of 18 U.S.C. §

924(c) [Docs. 29, 30]. On September 21, 2005, Petitioner was sentenced to the lowest sentence

authorized by law—an aggregate term of 384 months’ imprisonment, consistent of consecutive

terms of 84 months for the first offense and 300 months for the second offense [Doc. 32;

Presentence Investigation Report (“PSR”) ¶¶ 56–58]. No appeal was taken and the conviction

became final on October 5, 2005, at the expiration of time to appeal. See Sanchez-Castellano v.

United States, 358 F.3d 424, 428 (6th Cir. 2004) (explaining an unappealed judgment of




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conviction becomes final when the time for filing a direct appeal has elapsed); Fed. R. App.

Proc. 4(b)(1)(A)(i)(“In a criminal case, a defendant’s notice of appeal must be filed in the district

court within 14 days after . . . the entry of . . . judgment.”).

        More than ten years later—on May 9, 2016—Petitioner filed the instant petition for

collateral relief seeking correction of his sentence in light of Johnson [Doc. 47]. The United

States responded in opposition to any form of collateral relief based on that decision [Doc. 52].

II.     ANALYSIS

        Petitioner’s argument appears to be that the Johnson decision invalidated the similarly-

worded residual clause in § 924(c)(3)(B), thereby removing Hobbs Act robbery from the list of

“crimes of violence” sufficient to support a conviction under § 924(c)(1)(A) [Doc. 47 (arguing

that he is entitled to vacatur of his § 924(c) convictions)]. His argument fails for two reasons.

        First, binding Sixth Circuit precedent holds that while Johnson invalidated the residual

provision of the Armed Career Criminal Act (“ACCA”), 18 U.S.C. 924(e), and identically

worded clause in Section 4B1.2 of the United States Sentencing Guidelines, § 924(c)(3)(B)’s

definition of crime of violence remains unaffected.1 See United States v. Pawlak, No.15-3566,



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       The ACCA mandates a 15-year sentence for any felon who unlawfully possesses a
firearm after having sustained three prior convictions “for a violent felony or a serious drug
offense, or both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1).
The statute defines “violent felony” as “any crime punishable by imprisonment for a term
exceeding one year” that (1) “has as an element the use, attempted use, or threatened use of
physical force against the person of another” (the “use-of-physical-force clause”); (2) “is
burglary, arson, or extortion, involves the use of explosives” (the “enumerated-offense clause”);
or (3) “otherwise involves conduct that presents a serious potential risk of physical injury to
another” (the “residual clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual
clause—that the Supreme Court deemed unconstitutional in Johnson. 135 S. Ct. at 2563.

Section 4B1.1 enhances a defendant’s offense level if he or she qualifies as a “career offender,”
i.e., adult defendant whose offense of conviction is a “crime of violence or controlled substance
offense” and who has “at least two prior felony convictions of either a crime of violence or a
                                                2


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2016 WL 2802723, at *8 (6th Cir. Mar. 13, 2016) (concluding “rationale of Johnson applies

equally” to the Guidelines’ definition of crime of violence); United States v. Taylor, 814 F.3d

340, 376–79 (6th Cir. 2016) (recognizing at least four “significant differences” between the

residual clause in § 924(c)(3)(B) and the ACCA’s residual clause and noting “the argument that

Johnson effectively invalidated [the former] is . . . without merit”). As such, his Hobbs Act

robbery remains a crime of violence capable of supporting a conviction under § 924(c)(1)(A).

       Second, even if Johnson’s reasoning could be used to invalidate § 924(c)(3)(B)’s residual

clause, Petitioner’s conviction for Hobbs Act robbery would remain a crime of violence under

the provision because it qualifies under the use-of-physical-force clause contained in §

924(c)(3)(A). An offense qualifies as a crime of violence if it “has as an element the use,

attempted use, or threatened use of physical force against the person or property of another.” 18

U.S.C. § 924(c)(3)(A). Petitioner’s conviction for Hobbs Act robbery, which by definition

involves the taking of property “by means of actual or threatened force, or violence, or fear of

injury,” 18 U.S.C. § 1951(b)(1), categorically falls within the scope of that provision. See, e.g.,

In re Fleur, No. 16-12299, 2016 WL 3190539, at *3 (11th Cir. June 8, 2016) (finding, post-

Johnson, that Hobbs Act robbery categorically qualifies as a crime of violence under the use-of-


controlled substance offense.” U.S. Sentencing Manual § 4B1.1(a). “Crime of violence” under
the Guidelines is defined in an almost identical manner as “violent felony” under the ACCA.
See U.S. Sentencing Manual § 4B1.2(a) (adopting identical use-of-force and residual clauses as
well as a nearly identical enumerated-offense clause).

Section 924(c)(1)(A) makes it a crime for an individual, “in relation to any crime of violence or
drug trafficking crime . . . for which the person may be prosecuted in a court of the United
States, [to] use[,] carr[y] [or possess] a firearm . . . in furtherance of . . . such crime.” 18 U.S.C.
§ 924(c)(1)(A). Section 924(c)(3) goes on to define “crime of violence” as any “felony” that
“has as an element the use, attempted use, or threatened use of physical force against the person
or property of another” (use-of-physical-force clause); or “by its nature, involves a substantial
risk that physical force against the person or property of another may be used in the course of
committing the offense” (“residual clause”).
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physical-force clause in 18 U.S.C. § 924(c)(3)(A)); United States v. Howard, No. 15-10042,

2016 WL 2961978, at *1 (9th Cir. May 23, 2016) (same); accord United States v. House, No.

14-3011, 2016 WL 3144735, at *3 (8th Cir. June 2016) (finding that Hobbs Act robbery

categorically qualifies as a “serious violent felony” under 18 U.S.C. § 3559(c)(2)(F)(ii)’s use-of-

physical-force clause); United States v. McBride, No. 15-3759, 2016 WL 3209496, at *2 (6th

Cir. June 10, 2016) (finding that federal bank robbery, in violation of 18 U.S.C. § 2113(a), which

can be committed “by force and violence, or by intimidation,” falls within the Section 4B1.2(a)’s

use-of-physical-force clause); United States v. Mitchell, 743 F.3d 1054, 1058–60 (6th Cir. 2014)

(finding that Tennessee robbery, which can be committed “by violence or putting the person in

fear,” categorically qualifies as a violent felony under the ACCA’s use-of-physical-force clause).

In light of the foregoing, Johnson is inapposite and thus cannot operate as a basis for relief.

IV.    CONCLUSION

       For the reasons discussed, the § 2255 motion [Doc. 47] will be DENIED and

DISMISSED WITH PREJUDICE. The Court will CERTIFY any appeal from this action

would not be taken in good faith and would be totally frivolous. Therefore, this Court will

DENY Petitioner leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal

Rules of Appellate Procedure. Petitioner having failed to make a substantial showing of the

denial of a constitutional right, a certificate of appealability SHALL NOT ISSUE. 28 U.S.C. §

2253; Rule 22(b) of the Federal Rules of Appellate Procedure.

       AN APPROPRIATE ORDER WILL ENTER.


                                       s/ Thomas A. Varlan
                                       CHIEF UNITED STATES DISTRICT JUDGE



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